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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                                 –Northern Division–


  CONSTANCE COLLINS, et al.,

                      Plaintiff

                        –v–                                Case No. 8:20-cv-01225

  TRI-STATE ZOOLOGICAL PARK OF
  WESTERN MARYLAND, INC., et al.,

                    Defendants.


                      SUR-REPLY TO REPLY TO OPPOSITION TO
                         MOTION FOR SANCTIONS (ECF 59)

        Now Come the Defendants and file this Sur-Reply related to the Plaintiffs’ Motion

 for Sanctions and state:

        I.      PETA continues to decline to explain its non-disclosure of material facts
                as part of its initial motion for sanctions. Those facts are not only vital for
                the Court to know, but jurisdictional in nature as to the relief requested


      Other than to say that its blatant failure to obey Rule 37 was an “oversight” and to

generally deny wrongdoing, PETA seems to embrace the “John Wayne” theory whenever

in error: “Never apologize, never explain.” PETA admits in its Reply that it knew full well

that there were several other persons claiming ownership of the animals in question but

declines to explain to this Court why it concealed that very relevant and important

information. Prior to filing its Motion for Sanctions, PETA undertook its own investigation

of the Zoo’s claims that other persons owned certain animals, apparently hoping to find out

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that Mr. Candy was lying to them. When that strategy did not pan out and it became apparent

that Mr. Candy was telling the truth, rather than simply accept that others own the animals,

PETA attempted a back door disenfranchisement of the actual owners of the animals as a

“sanction” for alleged discovery violations that have little or nothing to do with who actually

owns the animals.

        In this diversity action, this Court must follow the substantive law of the State of

Maryland. Even when a motion is dressed up in a disguise as a procedural remedy, if that

motion effects substantive rights of other persons, this Court must observe the substantive

law. At its essence, what PETA seeks is a declaratory judgment depriving the owners of the

animals of their ownership claims, without those owners having been made parties to the

case.

        The law of Maryland strictly forbids any such action without all parties whose property

rights may be affected having been made parties to the action. See, e.g., Hillsmere Shores

Improvement Ass'n, Inc. v. Singleton, 166 Md.App. 756 (2004), and also Rounds v. Maryland

National Capital Park, 441 Md. 621 (2015), which both hold that the failure to join necessary

parties is fatal to any action, and that there can be no adjudication that affects the property

rights of another without joining those persons as parties. PETA either is or should be aware

of this but insists yet again that this Court overstep its jurisdiction to provide PETA with what

it wants.

        PETA owes this Court an explanation as to why it intentionally and deceptively failed

to disclose the various claims of ownership in its original motion, and why it continues to

insist upon the Court declaring the ownership of the animals despite a lack of jurisdiction.
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Barring a satisfactory explanation, PETA should be sanctioned for having brought a motion

omitting material facts, as a way of seeking such relief.

        II.      Discovery in this case should be limited to the purpose originally
                 delineated by the Court in its order denying the Motion to Dismiss,
                 and should not be an unlimited “free for all.”

        PETA insists that it has a right to know every detail of the Defendants’ zookeeping

operation, including poking through records of the animals that are never available to the

general public, gathering animal histories that are never available to the general public, and

taking depositions from witnesses about things that have nothing to do with the claims raised

in PETA’s complaint.

        However, PETA’s complaint states only one claim, that of public nuisance. Public

nuisance, as described in the Defendants’ earlier Opposition Memorandum, depends upon

those things that are within the sight, sound, smell, etc., of the public. It must be an offense

to the community and does not depend upon the things that are ordinarily not within public

view.

        It should be borne in mind that in this case, the two Plaintiffs are an organization

headquartered in Norfolk, Virginia, and an individual in New Jersey who claims to have

visited the Zoo on one occasion and been offended by what she saw. Neither Plaintiff has

alleged any ties to the local community in Cumberland, Maryland, where the Zoo is located.

        PETA wants this Court to declare ownership of the animals because PETA believes

that at the end of this case, if it prevails, the Court will seize those animals from the Zoo, and

that contemplated seizure cannot be accomplished if the Zoo does not own the animals. But

that contemplated relief is not even a form of relief available in the State of Maryland as
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injunctive relief for a public nuisance. In Becker v. State, 363 Md. 77 (2001), the Court of

Appeals made clear that the Circuit Court had no authority to order the destruction or other

taking of property without compensation as part of the abatement of a nuisance. “One general

limiting principle is that an injunction abating a nuisance ‘should go no further than is

absolutely necessary to protect the rights of the parties seeking such injunction.’ Singer v.

James, 130 Md. 382, 387, 100 A. 642, 643 (1917), and cases there cited. Or, as the Supreme

Court of Michigan stated the principle in Commissioner v. Anderson, 344 Mich. 90, 95, 73

N.W.2d 280, 282 (1955), “the remedy prescribed should be no greater than is necessary to

achieve the desired result.” Becker, supra, at 88.

       It is clear from Becker, supra, that the seizure of the animals themselves from the Zoo,

regardless of ownership, would be beyond the powers of the Court. The most this Court can

provide for relief under the laws of Maryland, even if PETA prevails upon all of its claims,

is to order the closure of the Zoo so that it will no longer disturb the “public” that PETA

claims the Zoo disturbs.1 Therefore the relief the Plaintiffs seek, a declaration as to ownership

of the animals, is irrelevant to the ultimate relief that the Court is capable of granting in this

case. Defendants submit that PETA asks for this relief only in anticipation that the Court will

abuse its powers at the end of the case by seizing the animals and awarding the animals to

PETA, and that by the time an appeal is decided, PETA will have irrevocably disposed of the


1
 It should also be noted that the only “public” bringing this case is located 200 miles and
300 miles away from the Zoo, and that none of them have ever been exposed to any alleged
nuisance from the Zoo other than by voluntarily entering onto the premises. There is no
allegation that any of the Zoo’s activities overflow onto the surrounding community other
than by affecting those who willingly enter onto the premises. The entire claim is absurd as
a matter of law, but the Defendants are for the present forced to defend the matter.
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animals in one way or another.

       III.   Conclusion

       PETA concealed vital information from this Court, and also asks the Court to overstep

its jurisdiction in declaring the ownership of certain animals, in anticipation of the Court once

again eventually overstepping its jurisdiction and seizing the animals at the end of this case.

PETA has no doubt been emboldened in its requests by the fact that the trial judge in this case

has been so incredibly favorable to PETA in the past, especially the denial of the motion to

dismiss in this case, which was clearly in error as a matter of law. Although the Defendants

accept that the denial of that motion is presently the law of the case, the Defendants still

maintain that this litigation is totally without legal basis ab initio. The Defendants have been

subjected to exhaustive discovery not remotely relevant to the relief requested in the

Plaintiffs’ Complaint, and the present Motion for Sanctions seeks relief not remotely relevant

to the matters at issue in the Plaintiffs’ Complaint.

       IV.    Request for Hearing

       Because PETA’s Motion and Reply are rife with misleading statements that may

require context to understand, the Defendants again request a hearing upon the motion for

oral argument.

                                            Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 16th day of November, 2021, I served the foregoing
uponthe counsel and/or parties set forth below via the ECF filing system:

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